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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


BROIDY CAPITAL MANAGEMENT LLC and
ELLIOTT BROIDY,

                     Plaintiffs,

            v.
                                                           Civil Action No. 1:19-cv-00150-DLF
NICOLAS D. MUZIN, JOSEPH ALLAHAM,
GREGORY HOWARD, and STONINGTON
STRATEGIES LLC,

                     Defendants.



 RESPONSE TO PLAINTIFFS’ OBJECTION TO NON-PARTY STATE OF QATAR’S
          NOTICE OF INTEREST AND NOTICE OF APPEARANCE

       Non-party State of Qatar (“Qatar”) filed a Notice of Interest (ECF No. 66) as a practical

measure to ensure that Qatar would be positioned to protect its sovereignty and immunity interests

in this litigation, if and as necessary. In a previous suit based on related allegations, the same

Plaintiffs sought to disclose materials found by the Central District of California to constitute

highly sensitive information related to Qatar’s foreign policy. Minute Order at 1, Broidy Cap.

Mgmt., LLC v. Qatar, No. 2:18-cv-02421, ECF No. 242 (C.D. Cal. Nov. 2, 2018). The D.C. Circuit

recognized the risk that in this action, Plaintiffs “will seek to gain access to Qatar’s sensitive,

diplomatic communications,” and noted this Court’s “tools” to manage discovery so as to “protect

Qatar’s absolute FSIA immunity from trial.” Broidy Cap. Mgmt., LLC v. Muzin, 12 F.4th 789, 804

(D.C. Cir. 2021) (internal citations and quotation marks omitted). In light of the D.C. Circuit’s

guidance, Qatar filed a Notice of Interest to enable it to monitor the case and ensure that its

immunities are respected as discovery unfolds.


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       In their Objection (ECF No. 69), Plaintiffs assert that Qatar’s filing is improper, and that

Qatar must formally intervene in the action pursuant to Rule 24 of the Federal Rules of Civil

Procedure. However, Plaintiffs provide no support for these contentions. The two cases Plaintiffs

cite analyze whether a non-party can intervene; neither holds that a non-party must do so to have

its position heard on a discovery matter. See United States v. AT&T Co., 642 F.2d 1285, 1295

(D.C. Cir. 1980) (finding that non-party MCI should have been permitted to intervene to assert

privilege over documents sought during discovery); Hobson v. Hansen, 44 F.R.D. 18, 31–33

(D.D.C 1968) (considering non-party petitioners’ motion to intervene for the purpose of appealing

order). In other words, Plaintiffs’ cases concern one method—not the only method—of non-party

participation.

       In fact, non-parties file notices of interest in a variety of circumstances, and Qatar is

unaware of courts striking such filings as procedurally improper as Plaintiffs request here. See,

e.g., Order, In re Parmalat Sec. Litig., No. 1:04-cv-09771, ECF No. 431 (S.D.N.Y. Jan. 31, 2007)

(authorizing non-parties to file substantive response regarding proposed settlement based on non-

parties’ Notice of Interest); Notice of Interest by Defendants, In re Auto. Parts Antitrust Litig., No.

2:13-cv-00800, ECF No. 46 (E.D. Mich. Aug. 10, 2015) (raising non-parties’ interest in pending

scheduling dispute); Notice of Interest of RADIOCUBA, Alejandre v. Cuba, No. 4:96-cv-10126,

ECF No. 157 (S.D. Fla. Mar. 18, 1999) (providing notice that sovereign non-party RADIOCUBA

had interest in bank account plaintiffs sought to garnish).

       Contrary to Plaintiffs’ suggestion, non-parties may vindicate privileges and other interests

related to third-party subpoenas issued under Rule 45 of the Federal Rules of Civil Procedure

without formally intervening in the underlying action. See, e.g., In re Subpoena to Goldberg, 693

F. Supp. 2d 81, 88–89 (D.D.C. 2010) (resolving non-party’s motion to quash subpoena without



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reference to intervention); Chevron Corp. v. Donziger, No. 12–mc–80237, 2013 WL 4536808, at

*17–18 (N.D. Cal. Aug. 22, 2013) (same, with respect to non-parties with interest in subpoenas

served on other non-parties). Beyond filing motions to quash or modify under Rule 45(d)(3), non-

party foreign sovereigns have also expressed their views on third-party discovery issues

implicating their sovereign interests through informal letters to the court or amicus briefs, without

formally intervening. See In re Rubber Chems. Antitrust Litig., 486 F. Supp. 2d 1078, 1081–84

(N.D. Cal. 2007) (deferring as a matter of international comity to the views of the European

Commission, which the court treated as a sovereign, as expressed in a letter).

       Qatar anticipates needing to take part in Rule 45 discovery motions practice as this case

proceeds in order to protect its sovereignty and immunities. In the related Central District of

California suit, Plaintiffs served more than eighty third-party subpoenas, several of which sought

information protected by the Vienna Convention on Diplomatic Relations and other diplomatic

and sovereign immunities. In the event that Plaintiffs pursue similar discovery here, Qatar will be

required to participate in resulting Rule 45 disputes. In addition, given the complexity of this case

and the unusual issues it raises such as diplomatic immunity, it is possible that subpoena-related

motions may ultimately be transferred from the compliance court to this Court pursuant to Rule

45(f) of the Federal Rules of Civil Procedure. See, e.g., Jud. Watch, Inc. v. Valle Del Sol, Inc.,

307 F.R.D. 30, 34–37 (D.D.C. 2014). In this circumstance, Qatar will be required to participate in

Rule 45 discovery disputes before this Court in order to protect its sovereignty and immunities.

       Ultimately, Plaintiffs’ insistence that intervention is the only way for Qatar to protect its

sovereign interests and immunities is not only misplaced, it is also premature. At this stage, Qatar

has taken the modest step of notifying the Court of its interest in the conduct of discovery in this

case, consistent with what the D.C. Circuit has already recognized. See Muzin, 12 F.4th at 804.



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Plaintiffs’ request for the Court to strike a sovereign’s notification to the Court of such an interest

is unsupported, but there is no need for the Court to rule on any issue at this juncture, as any actual

relief sought would be the subject of a future motion rather than this informational notice.1



Dated: October 27, 2021                                Respectfully submitted,

                                                       /s/ David M. Zionts
    Mitchell A. Kamin*                                 David M. Zionts (D.C. Bar No. 995170)
    COVINGTON & BURLING LLP                            COVINGTON & BURLING LLP
    1999 Avenue of the Stars, Suite 3500               One CityCenter
    Los Angeles, California 90067-4643                 850 Tenth St., N.W.
    (424) 332-4800                                     Washington, DC 20001-4956
    mkamin@cov.com                                     (202) 662-6000
    *Pro Hac Vice motion pending                       dzionts@cov.com

                                                       Counsel for Non-Party State of Qatar




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 In this regard, Qatar has no objection to the Court deferring its ruling on the concurrently filed
Motion for admission Pro Hac Vice (ECF No. 68) until such time as a motion for relief is filed.

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                                   CERTIFICATE OF SERVICE

          I hereby certify that on October 27, 2021, I caused a true and correct copy of the

foregoing Response to Plaintiffs’ Objection to Non-Party State of Qatar’s Notice of Interest and

Notice of Appearance to be filed through the Court’s e-file and serve system, which will serve

notice electronically on all counsel of record, as more fully reflected on the Notice of Electronic

Filing.

 Dated: October 27, 2021                                /s/ David M. Zionts
                                                        David M. Zionts (D.C. Bar No. 995170)
                                                        COVINGTON & BURLING LLP
                                                        One CityCenter
                                                        850 Tenth St., N.W.
                                                        Washington, DC 20001-4956
                                                        (202) 662-6000
                                                        dzionts@cov.com

                                                        Counsel for Non-Party State of Qatar




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